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                           UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA


X CORP.
                                                     Case No. _________________
                      Movant,
                                                     Underlying Case, United States v.
v.                                                   Twitter, pending in the United States
                                                     District Court for the Northern District of
ERNST & YOUNG, LLP,                                  California:

                      Respondent.                    No. 22 Civ. 3070




                        X CORP.’S MOTION TO COMPEL
                   COMPLIANCE WITH SUBPOENA DUCES TECUM

       In accordance with Rules 26, 37, and 45 of the Federal Rules of Civil Procedure, X Corp.

respectfully moves for an order compelling Ernst & Young LLP (EY) to comply with X Corp.’s

subpoena duces tecum issued in United States v. Twitter, No. 22 Civ. 3070 (N.D. Cal.) and served

upon EY on August 3, 2023.

       This Motion is based upon the accompanying Memorandum of Points and Authorities, the

Declaration of Daniel Koffmann (“Koffmann Decl.”), and any further evidence and arguments the

Court chooses to consider. As required by Local Civil Rule 7(m), counsel for X Corp. certifies

that it has made a reasonable effort to meet and confer with counsel for EY regarding the matters

set forth in this Motion to resolve the dispute without court intervention. See Koffmann Decl., ¶

23.
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DATED: August 25, 2023
                                Respectfully submitted,


                                 By /s/ Christopher G. Michel
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